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                                          August 15, 2019


 VIA ECF

 Hon. Steven C. Mannion
 United States Magistrate Judge
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street, Room 4015
 Newark, NJ 07101

        Re:      U.S. ex rel. Kenneth W. Armstrong v. Andover Subacute & Rehab Center
                 Services One, Inc., et al.
                 Civil Action No. 12-3319

 Dear Judge Mannion:

        This firm represents Defendants Andover Subacute & Rehab Center Services One, Inc.,
 Andover Subacute & Rehab Center Services Two, Inc., and the Estate of Dr. Hooshang Kipiani
 (the “Andover Defendants”) in the above-captioned matter. During yesterday’s telephonic status
 conference, Relator Kenneth W. Armstrong argued two motions: (i) Relator’s motion to compel
 the deposition testimony of Ms. Carla Turco-Kipiani; and (ii) Relator’s motion to compel
 Defendants to respond to Relator’s April 12, 2019 interrogatories. Your Honor observed that the
 Andover Defendants had not filed an opposition to Relator’s motion to compel the deposition
 testimony of Ms. Turco-Kipiani and, ultimately, instructed the parties to meet and confer regarding
 Ms. Turco-Kipiani’s continued deposition on the basis that Relator’s motion was unopposed.

         Although I was able to confirm during the conference that the Andover Defendants did not
 file an opposition to Relator’s motion to compel the deposition testimony of Ms. Turco-Kipiani
 (Dkt. No. 92), it was not until after the conference that I realized that the motion to compel Ms.
 Turco-Kipiani’s testimony had been inadvertently overlooked. As reflected in the June 5, 2019
 joint agenda letter, we have always intended to oppose Plaintiff’s motion. (Dkt. No. 87 (the “Joint
 Agenda Letter”) at 3.) We just missed it.

         As indicated in that letter, the Relator’s questions regarding Ms. Turco-Kipiani’s interest
 in other entities were irrelevant, not reasonably calculated to lead to the discovery of admissible
 evidence, and solely meant to annoy and oppress Ms. Turco-Kipiani (Joint Agenda Letter at 3;
 Geyer Decl. [Dkt. No. 92-1], Ex. 1 (the “Turco-Kipiani Dep.”) at 70:18-71:13.) Relator argues that
 those questions are relevant to the claims and defenses in this matter because they may reveal that
 “the woman perhaps was spreading herself too thin and was not spending enough time at
 Andover.” (Motion at 3–4 (quoting Turco-Kipiani Dep. at 76:19-25).) But Ms. Turco-Kipiani’s
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 personal financial investments and the allocation of her time have no bearing on (i) whether
 Andover residents were seen by a physician as frequently as applicable regulations required, and
 (ii) the accuracy of certifications submitted by the Andover Defendants to governmental regulatory
 authorities. The real motivation for this line of questioning is that Relator has sued corporate
 entities that are effectively defunct and he is on a fishing expedition to uncover Ms. Turco-
 Kipiani’s personal assets even though there is no allegation and, indeed, no evidentiary basis for
 any allegation of corporate irregularity.

          The Andover Defendants will meet and confer with counsel regarding Ms. Turco-Kipiani’s
 continued deposition. However, the Andover Defendants respectfully request that the Court
 provide the Andover Defendants with an opportunity for to oppose Relator’s motion on the merits
 of that issue.

                                                     Respectfully,

                                                     /s/ Blan Jarkasi

                                                     Blan J. Jarkasi

  cc: All Counsel of Record (via ECF)
